Troutman Pepper Hamilton Sanders LLP
Hercules Plaza, 1313 Market Street, Suite 5100
Wilmington, DE 19801

troutman.com



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Hon. Gregory B. Williams                                                Public Version Filed June 1, 2023
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street, Unit 26, Room 6124
Wilmington, DE 19801

Dear Judge Williams,

         I am counsel to Deirdre Leane and IPNAV (collectively, the “Leane Defendants”). I submit
this letter in opposition to CBV, Inc. (“CBV”)’s motion for leave to amend (the “Motion,” D.I.
212). The Motion should be denied, for three reasons: (1) it is untimely without good cause for
violating the Scheduling Order; (2) the settlement agreement that CBV entered into with Defendant
ChanBond, LLC (“ChanBond”), but failed to disclose to the Court (the “Hidden Settlement”), 1
strips the Court of subject matter jurisdiction over CBV’s claims; and (3) the Hidden Settlement
renders CBV’s proposed amendment futile. In the alternative, and to the extent the Court intends
to grant CBV leave to amend, it should condition that leave on terms that address the prejudice to
Leane Defendants caused by CBV’s untimely motion and attempt to withhold the Hidden
Settlement from the Court.

        First, the Motion should be denied as untimely without good cause. Amending a schedule
may be done only with good cause. Fed. R. Civ. P. 16(b)(4). In the context of an untimely motion
for leave to amend, good cause requires two showings: first, that the party seeking to amend could
not have complied with the deadline imposed by the scheduling order, through no fault of its own,
and second, that the party seeking leave was sufficiently diligent in bringing the motion once it
determined amendment was necessary. See, e.g., Freedom Mortg. Corp. v. Fitzpatrick, C.A. No.
20-5872 (NLH/AMD), 2021 WL 9667929, at *3 (D.N.J. July 28, 2021) (knowledge of the claim
prior to the deadline is the “most common basis” for finding lack of good cause); Scott v. Vantage
Corp., 336 F. Supp. 3d 366, 378 (D. Del. 2018), aff’d, 845 Fed. Appx. 170 (3d Cir. 2021) (denying
leave to amend where party had knowledge prior to scheduling deadline but did not seek leave
until nearly two months after the deadline); Cordance Corp. v. Amazon.com, Inc., 255 F.R.D. 366,
371 (D. Del. 2009) (movant must demonstrate it could not have reasonably sought leave in a timely
manner). Cf. WebXchange Inc. v. Dell Inc., C.A. No. 08-132-JJF, 2010 WL 256547, at *2 (D. Del.
Jan. 20, 2010) (good cause shown where relevant information was only learned after the deadline).
CBV can make neither showing here.

        There is no question that CBV could have complied with the Court’s deadline had it chosen

         1
           A copy of the Hidden Settlement is annexed hereto as Exhibit A. After much back-and-forth (discussed
below), CBV produced the Hidden Settlement to Leane Defendants designated Restricted-Confidential, which the
Court’s Protective Order requires Leane Defendants to file under seal. Given the Court’s prior order on sealing and
the lack of any conceivable injury to either ChanBond or CBV from public disclosure of the Hidden Settlement,
Leane Defendants do not believe the designation was appropriate or oppose the unsealing of the Hidden Settlement,
and on May 19, 2023 asked CBV and ChanBond to consent to its public filing. Neither replied to that request.
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to do so. At the parties’ request, the Court set January 6, 2023 as the deadline for seeking leave to
amend. See D.I. 170, 187. CBV’s Proposed Second Amended Complaint (the “PSAC”) seeks to
assert a single new count against Leane Defendants, for unjust enrichment, arising out of
ChanBond’s                     payment to Leane Defendants in satisfaction of the arbitral award
Leane Defendants obtained against ChanBond. CBV should have been aware of that settlement by
November 15, 2022 (when Leane Defendants and ChanBond filed their stipulation of dismissal,
D.I. 178), and was definitively aware of it no later than November 30, 2022, at Dick Snyder’s
deposition. Motion at 3. 2

       Indeed, during conversations among counsel at that deposition – 38 days before the
deadline – CBV’s counsel expressly articulated CBV’s belief that it had a cause of action against
Leane Defendants for unjust enrichment. And CBV filed a letter with the Court the next day
arguing the payment to Leane Defendants was improper. D.I. 191. Yet CBV did not seek leave to
amend until May 17, 2023, 132 days after the deadline and only 54 days before trial in this action.
CBV’s excuse for that delay is that it was talking settlement. That is no excuse. See Tarter v.
Green, C.A. No. 04-4819 (SRC), 2006 WL 8458494, at *1 (D.N.J. Apr. 4, 2006) (possibility of
settlement is not good cause for delay in seeking leave to amend); Eckert v. City of Sacramento,
C.A. No. 207CV00825GEBGGH, 2009 WL 3211278, at *2 (E.D. Cal. Sept. 30, 2009) (“ongoing
settlement negotiations do not constitute good cause”).

        That claim is also false, at least as to Leane Defendants. The parties sought and obtained a
stay of discovery on December 7, 2022. Leane Defendants consented to that stay expressly and
only after clearly stating that they would only consider offering a nuisance value settlement to
CBV. See Ex. B. That day, CBV made a settlement demand of $7,000,000.00, and Leane
Defendants immediately rejected it, reiterating that the only thing on the table was nuisance value.
See Ex. C. From that point forward, other than a brief call among counsel the next morning in
which Leane Defendants reiterated that they would not be offering anything beyond nuisance
value, Leane Defendants and CBV engaged in no further settlement discussions. While Leane
Defendants consented to an extension of the stay on December 20, 2022, and CBV’s counsel
represented that they would be “in touch regarding the case” before the expiration of the extension,
Ex. D, that did not occur. See Ex. E. And from January 2, 2023 through March 13, 2023, the only
communications between CBV and Leane Defendants were Leane Defendants’ repeated attempts
to obtain dates to complete the deposition of CBV’s principals and CBV’s counsel’s refusal to
respond to those inquiries. Annexed hereto as Exhibit F is a copy of every email exchanged
between CBV’s counsel and Leane Defendants’ counsel from December 8, 2022 through
March 13, 2023; the Court can see for itself that no further settlement discussions were had. 3

         Simply put, CBV had at least a month to submit a motion for leave to amend before the
         2
            CBV’s PSAC also seeks to assert a new theory of breach by ChanBond, alleging that Leane Defendants’
interest in funds held by ChanBond makes them a “stakeholder in ChanBond” under section 2.8 of the PPA. Not
only is this new and belated claim wrong (that is not what a “stakeholder in ChanBond” means) and prejudicial to
Leane Defendants (who pursued a litigation strategy, including settling with ChanBond, based on the claims CBV
had asserted), but CBV clearly could have asserted that new interpretation of the PPA the day it first filed its
complaint. CBV does not even attempt to claim diligence as to that new claim, and the Court must therefore deny
leave to assert it at this late stage even if the Court believes CBV established good cause for its delay in asserting the
unjust enrichment claim.
          3
            To be crystal clear: there were also no oral settlement discussions with CBV, whether among counsel or
client-to-client.
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deadline in the Scheduling Order, and chose not to do so. Indeed, until mid-January, it was not
even clear CBV would continue pursuing litigation. Ex. F at 22. CBV’s motion recites that it
drafted an amended complaint in January. Motion at 3. It fails to disclose to the Court that CBV
then took another two months, until March 13, to raise the possibility of amendment with Leane
Defendants. Ex. F at 20. CBV then burned another two months – one of which went by without
CBV even responding to Leane Defendants – attempting to avoid producing to Leane Defendants
the Hidden Settlement, though Leane Defendants needed to review the settlement to assess
whether they would consent to the motion, and though CBV’s objections to producing the Hidden
Settlement were patently frivolous. 4 See Exs. G, H, I, J, & K. Once CBV produced the Hidden
Settlement, Leane Defendants provided a response within days – after which CBV waited weeks
more to make the Motion. Cf. Motion at 3 (attempting to blame Leane Defendants for CBV’s delay
from March 13 through May 2). When CBV finally did file the Motion, it did so with less than
two months remaining before trial (July 17-19, 2023). Requiring Leane Defendants to litigate these
new claims in such a compressed time period would be unduly prejudicial. And delays of the
magnitude of CBV’s here are “routinely found to be dilatory.” NRT Tech. Corp. v. Everi Holdings
Inc., C.A. No. 19-804-MN-SRF, 2022 WL 354291, at *3 (D. Del. Jan. 11, 2022) (motion filed 6
months after learning relevant information). See also Barry v. Stryker Corp., C.A. No. 20-1787-
RGA, 2022 WL 16948625, at *3 (D. Del. Nov. 15, 2022) (five month delay after learning
information is too long, and party also insufficiently diligent where it waited a month after first
articulating new theory before seeking leave to amend); Allergan USA, Inc. v. MSN Labs. Private
Ltd., 2022 WL 11761898, at *3 (D. Del. Oct. 20, 2022) (denying leave to file 2 months after
relevant deadline); Pfizer Inc. v. Sandoz Inc., C.A. No. 12-654-GMS/MPT, 2013 WL 5934635, at
*3-4 (D. Del. Nov. 4, 2013) (four-month delay from learning relevant information). That is
emphatically not the diligence required by Rule 16.

        Second, the Motion should be denied, and this action dismissed in its entirety, because the
Hidden Settlement strips the Court of subject matter jurisdiction over the dispute between the
parties. Section 4.2 of the Hidden Settlement provides that CBV will hold ChanBond harmless in
connection with any counts that remain in the action, and that CBV “will not seek any monetary
or other relief against Chanbond” as to the remaining claims. Ex. A, § 4.2. Because all of the
remaining claims in this action require this court to adjudicate whether ChanBond breached its
agreement with CBV, CBV has stripped the Court of subject matter jurisdiction. Catawba
Riverkeeper Found. v. N. Carolina Dep’t of Transportation, 843 F.3d 583, 588 (4th Cir. 2016)
(federal courts lose subject matter jurisdiction “when the issues presented are no longer ‘live’ or
the parties lack a legally cognizable interest in the outcome”) (cleaned up); Koons v. XL Ins. Am.,
Inc., 620 F. App’x 110, 112 (3d Cir. 2015) (indemnification after case began mooted the action).
ChanBond no longer has a legally cognizable interest – or at least not one adverse to CBV – in the
claims CBV purports to bring against it.

        And the agreement independently strips the Court of subject matter jurisdiction for an
additional reason: the Advisory Services Agreement (“ASA”) between IPNAV and ChanBond
requires ChanBond to indemnify IPNAV for any damages it might owe relating to the ASA. Ex.
L at ¶ 15. Thus, any recovery awarded on CBV’s meritless claims will flow in an offsetting loop:
if IPNAV somehow owed CBV $1,000,000, IPNAV would be entitled to $1,000,000 in

        4
          When CBV finally met and conferred with Leane Defendants about the objection on April 25, 2023, CBV
explained that it was objecting to production on the basis that the Hidden Settlement was irrelevant.
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indemnification from ChanBond, which would in turn be entitled to $1,000,000 in indemnification
from CBV under the hold harmless clause of the Hidden Settlement. Because any “relief” awarded
would thus leave the parties in exactly the same position they began in, there is no Constitutional
case or controversy among them and the Court no longer has any jurisdiction over the matter.
Catawba, 843 F.3d at 588 (“[A] case is moot when our resolution of an issue could not possibly
have any practical effect on the outcome of the matter.”) (cleaned up).

        Third, even were that not the case, the Hidden Settlement renders the PSAC futile. 5 The
release contained in the Hidden Settlement forecloses any recovery against Leane Defendants,
including on CBV’s proposed unjust enrichment claim. And as noted above, the Hidden Settlement
explicitly prevents CBV from recovering any form of relief from ChanBond. Two of the three
PSAC claims request explicit declaratory relief against ChanBond, and the third seeks to have the
Court order that funds in the possession of Leane Defendants be used to compensate CBV for
ChanBond’s alleged breaches of contracts with CBV. PSAC ¶¶ 86-111. The Hidden Settlement
concedes as much, acknowledging that CBV requires its declaratory judgment claims against
ChanBond – over which the Court unquestionably lacks subject matter jurisdiction – to recover
against Leane Defendants. Ex. A, § 4.2 (“such claims shall remain only because CBV believes
they are necessary to recover against Leane Defendants”).

        And the Hidden Settlement also provides that CBV will, if it recovers damages from Leane
Defendants,                                                 Ex. A, § 2.2. CBV has, in other words,
crafted an agreement that prevents the Court from issuing a ruling that changes the legal positions
of CBV and ChanBond. Instead of adjudicating a dispute between CBV and ChanBond, the PSAC
creates a situation in which a ruling by this Court that is putatively entered against ChanBond
inures instead to ChanBond’s financial advantage. Courts have long considered such collusive
suits to be not merely impermissible but “an abuse which courts of justice have always
reprehended.” Lord v. Veazie, 49 U.S. 251, 255 (1850). See also U.S. v. Johnson, 319 U.S. 302,
305 (1943); TranSouth Financial Corp. of Florida v. Johnson, 931 F.2d 1505, 1512 (11th Cir.
1991); Campbell Soup Co. v. Martin, 202 F.2d 398, 399 (3d Cir. 1953).

         Finally, to the extent that the Court is nevertheless inclined to grant leave to amend, Leane
Defendants ask that the Court exercise its discretion to condition that leave on such terms as are
just. Mullin v. Balicki, 875 F.3d 140, 150 (3d Cir. 2017). Here, that requires: (1) directing CBV to
file the stipulations of dismissal required by the Hidden Settlement; (2) ordering CBV to include
reference to the Hidden Settlement in its pleading; and (3) instructing CBV to reimburse Leane
Defendants for costs and attorneys’ fees in connection with the redepositions of CBV’s principals
and any new document discovery needed in light of CBV’s new claims. 6

         The first of those conditions is straightforward, and the last is squarely within longstanding

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           Assuming leave to amend is granted, Leane Defendants would also move to dismiss on the basis that
CBV’s substantive claim – that Leane Defendants were unjustly enriched by IPNAV being paid the majority of (not
even all of) the amount it was awarded in arbitration as the fee contractually due under the ASA – is entirely without
merit. At best, CBV would be a creditor with a potential preference claim, an argument CBV forfeited both by not
timely asserting it and also by settling with ChanBond, terminating any right to future recovery against ChanBond
and simultaneously ensuring that ChanBond was not insolvent as would be necessary for a preference claim.
         6
           To the extent that CBV files the PSAC as-is, Leane Defendants respectfully request that the Court extend
their time to answer or otherwise move by 21 days. See Fed. R. Civ. P 11(c)(2).
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precedent, see, e.g., Cemar, Inc. v. Nissan Motor Corp. in U.S.A., 678 F. Supp. 1091, 1106 (D.
Del. 1988) (conditioning leave on compensation for fees and expenses in duplicative discovery),
but the second – requiring CBV to plead the existence of the Hidden Settlement – requires a brief
explanation. This is not the first time that CBV has neglected to address the existence of a contract
it entered into with ChanBond in its pleadings, despite clear incompatibilities between the contract
and the claims – in effect, attempting to artfully plead around the contract to, if only temporarily,
maintain hopeless causes of action. It has done so to the prejudice of Leane Defendants before; it
should not be permitted to do so again.

        Several of the claims advanced by CBV in both the Complaint and the First Amended
Complaint (“FAC,” D.I. 6) were unambiguously contradicted by the plain text of the “Receipt,
Release, and Consent to Distribute” (“RRC”) CBV executed less than two months before filing
suit but did not deign to mention in its pleadings. For example, CBV asserted, at multiple points
in its FAC, that ChanBond was required to pay it the money it claimed was due under the PPA by
October 31, 2021. It claimed that “because the Patent Suits settled in June or July 2021, payment
was due to CBV by October 31, 2021.” FAC ¶ 69. Relying on this allegation of nonpayment, CBV
explicitly sought an order from this Court requiring specific performance of ChanBond’s alleged
payment obligation. FAC ¶¶ 85-99. In the alternative, CBV sought “compensatory damages for
the amount of the late payment.” FAC at 35.

        Had the RRC been incorporated in ChanBond’s pleadings, it would have been obvious on
the four corners of the FAC that CBV had expressly agreed that payment was not due in October
and that when ChanBond “indicated that no payment would be made,” FAC ¶ 5, the ‘indication’
was the RRC’s express language that “CBV and ChanBond agree that…Chanbond should
withhold any additional Recoveries until the completion of the arbitration.” D.I. 49-7 ¶ 6 (emphasis
added). CBV itself had expressly agreed, in writing, that the payment was not late – before filing
suit on the grounds that it was. Because CBV did not disclose the RRC in the complaint, Leane
Defendants were unable to move for dismissal based on the manifest inconsistencies between the
RRC and the FAC. Instead, they were forced to proceed with the expense and inconvenience of
discovery on these claims.

        CBV now moves for belated leave to again amend its complaint, and seeks to deploy the
same strategy. Prior to moving for leave to amend, CBV entered into the Hidden Settlement. Like
the RRC, the Hidden Settlement provided CBV with                                  consideration in
exchange for extensive litigation concessions, and its omission would conceal fatal flaws in CBV’s
case. Accepting the PSAC as it stands, without mention much less inclusion of the Hidden
Settlement, would thus prejudice Leane Defendants by forcing them to bear the expense of
discovery on claims CBV knows could not stand if the full factual landscape were disclosed. Thus,
to the extent that the Court allows CBV to amend at all, it should require CBV to plead the full
factual landscape.

                                              Respectfully Submitted,

                                                /s James H. S. Levine
                                              James H. S. Levine (#5355)
